Case:18-04794-BKT13 Doc#:34 Filed:08/05/20 Entered:08/05/20 15:40:04   Desc: Main
                           Document Page 1 of 5
Case:18-04794-BKT13 Doc#:34 Filed:08/05/20 Entered:08/05/20 15:40:04   Desc: Main
                           Document Page 2 of 5
Case:18-04794-BKT13 Doc#:34 Filed:08/05/20 Entered:08/05/20 15:40:04   Desc: Main
                           Document Page 3 of 5
Case:18-04794-BKT13 Doc#:34 Filed:08/05/20 Entered:08/05/20 15:40:04   Desc: Main
                           Document Page 4 of 5
Case:18-04794-BKT13 Doc#:34 Filed:08/05/20 Entered:08/05/20 15:40:04   Desc: Main
                           Document Page 5 of 5
